          Case 1:10-cr-00301-JB-M                      Doc# 72          Filed 06/24/15             Page 1 of 1                  PageID# 353
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                                                       Southern District of Alabama
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                      JAMES BLACKWELL                                           &DVH1R       10-00301
                                                                                8601R 07813-003
'DWHRI2ULJLQDO-XGJPHQW                            08-16-2011
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
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IT IS ORDEREDWKDWWKHPRWLRQLV
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the last judgment issued)RI                     PRQWKVis reduced to                                      

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS
 James Blackwell is NOT eligible for a reduction pursuant to Amendment 782. At the time of sentencing, the defendant
 was determined to be a career offender, and his guidelines were driven by the career offender provision, not the drug
 guidelines. In addition, Blackwell received a sentence which fell outside of the advisory guideline range. Pursuant to
 U.S.S.G. § 1B1.10(b)(2)(A), and Application Note 3, the Court may only grant a comparable reduction outside of the
 guideline range if the defendant provided substantial assistance to authorities. Therefore, the defendant would not
 benefit from a recalculation of the guidelines.




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IT IS SO ORDERED                                                                                            Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                       Callie V.S. Granade U.S.              DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                             Government, ou=Federal Judiciary,
2UGHU'DWH                  06-24-2015                                District Judge                        email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                             Date: 2015.06.24 13:50:14 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH                                                                              United States District Judge
                     (if different from order date)                                                Printed name and title
